      Case 3:21-cv-03111-K Document 1 Filed 12/14/21                 Page 1 of 4 PageID 1



                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

MATRIX WARRANTY SOLUTIONS,                        §
INC.,                                             §
                                                  §
Plaintiff,                                        §
                                                  §                  CIVIL ACTION NO.
v.                                                §                     3:21-cv-3111
                                                  §
THE STAUNTON GROUP LLC, and                       §
RALPH CARRILLO,                                   §
                                                  §
Defendants.                                       §

                                    NOTICE OF REMOVAL

        Pursuant to 28 U.S.C. §§ 1332 and 1441, Defendants The Staunton Group LLC (“Staunton”)

and Ralph Carrillo (“Carrillo”) (collectively “Defendants”) file this Notice of Removal of the action

styled Matrix Warranty Solutions, Inc. v. The Staunton Group LLC and Ralph Carrillo; Cause No.

DC-21-12589, pending in the 160th Judicial District Court, Dallas County, Texas (the “State Court

Action”). In support of their Notice of Removal, Defendants state as follows.

                                               I.
                                         JURISDICTION

        This court has jurisdiction over this matter pursuant to 28 U.S.C. §1332 because it involves a

controversy between citizens of different states, and the controversy exceeds $75,000.00, exclusive

of interest and costs.

                                              II.
                                         STATE ACTION

        1.      This action, styled Matrix Warranty Solutions, Inc. v. The Staunton Group LLC and

Ralph Carrillo, was filed in the 160th Judicial District Court, Dallas County, Texas, on September 8,

2021, Cause Number DC-21-12589.

        2.      Plaintiff is Matrix Warranty Solutions, Inc. Matrix Warranty Solutions, Inc. is a
                                            -1-
128712198.1
      Case 3:21-cv-03111-K Document 1 Filed 12/14/21                 Page 2 of 4 PageID 2



Nevada corporation with its principal place of business in Dallas Texas, which is located in the

Northern District of Texas.

        3.     The Staunton Group is limited liability company organized in the State of Nevada

with its principal place of business in Aurora, Illinois 60504. All members of The Staunton Group

reside in the State of Illinois and are not residents of the State of Texas. The two members of The

Staunton Group are:

               a. Jeffrey D. Lizee, an individual residing at 1035 W Huron, Apt. 404, Chicago,
                  Illinois 60642; and
               b. Ralph Carrillo, an individual residing at 464 Vaughn Cir., Aurora, Illinois 60502.

        4.     Ralph Carrillo is an individual residing at 464 Vaughn Cir., Aurora, Illinois 60502.

Carrillo is not a resident of Texas.

        5.      Venue is proper in the United States District Court for the Northern District of

Texas, Dallas Division.

                                           III.
                                  NATURE OF THE LAWSUIT

        6.     This case involves a controversy between Plaintiff and Defendants wherein Plaintiff

alleges that Defendants are liable to it for damages resulting from Defendants’ alleged violations of

the Texas Deceptive Trade Practices Act (DTPA), tortious interference with existing contract,

business disparagement, and conspiracy. More specifically, Plaintiff alleges that it sustained

damages when Defendants disparaged its business to third-party Clear Path.

        7.      Plaintiff alleges it is entitled to recover monetary damages from Defendants.

Plaintiff’s Petition seeks monetary relief “over $1,000,000 and under $18,400,000.”

        8.      Defendants were served with citation on November 18, 2021.

        9.      Plaintiff has demanded a jury.



                                             -2-
128712198.1
      Case 3:21-cv-03111-K Document 1 Filed 12/14/21                   Page 3 of 4 PageID 3



                                      IV.
                    REMOVAL BASED ON DIVERSITY JURISDICTION

        6.      The District Courts of the United States have original jurisdiction over this action

based on diversity of citizenship among the parties, in that Defendants are now, and were at the time

the action commenced, diverse in citizenship from the Plaintiff. Plaintiff is a resident of the State of

Texas. The Defendants are not, and were not at any time this suit was commenced, a resident of the

State of Texas. Rather, Defendants are a residents of the State of Illinois and Staunton’s principal

place of business is in Illinois.

        7.      The amount in controversy in this action exceeds, exclusive of interests and costs, the

sum of $75,000. Thus, jurisdiction in this Court is proper pursuant to 28.U.S.C. §1332.

        8.      Removal of this action is proper under 28 U.S.C. § 1441, since it is a civil action

brought in State Court, and the Federal District Courts have original jurisdiction over the subject

matter under 28 U.S.C. § 1332 because Plaintiff and Defendants are diverse in citizenship and the

amount in controversy exceeds $75,000, exclusive of interest and costs.

                        REMOVAL PROCEDURAL REQUIREMENTS

        9.      Defendants have filed there Notice of Removal within the time period provided in 28

U.S.C. § 1446(b). Defendants were served with citation on November 18, 2021, and are filing this

Removal within thirty (30) days of receipt.

        10.     Contemporaneously with their Original Notice of Removal, Defendants filed their

Notice of Removal with the clerk of the 160th Judicial District Court, Dallas County, Texas.

                    INDEX OF DOCUMENTS FILED IN STATE COURT

        11.     Pursuant to Local Rule 81.1(a), copies of the State Court pleadings are attached

hereto. Exhibit A is an index, in chronological order, of all documents filed in the State Court and

the date it was filed in state court. Exhibit B is a copy of the docket sheet in the State Court. Exhibit

                                              -3-
128712198.1
      Case 3:21-cv-03111-K Document 1 Filed 12/14/21                 Page 4 of 4 PageID 4



C are copies, in chronological order, of all documents filed in the State Court.

        Wherefore, Defendants pray that the action now pending against them in the 160th Judicial

District Court, Dallas County, Texas, be removed therefrom to the United States District Court for

the Northern District of Texas – Dallas Division, and further requests that this Court assume

jurisdiction over the cause herein as provided by law.

                                                  Respectfully submitted,


                                                  /s/ K. Patrick Babb
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                                                  ATTORNEYS FOR DEFENDANT




                                 CERTIFICATE OF SERVICE

        The undersigned certifies that the foregoing Notice of Removal was served on counsel of
record for Plaintiff in accordance with the Federal Rules of Civil Procedure on December 14, 2021.

                                                         /s/ K. Patrick Babb
                                                         K. Patrick Babb




                                            -4-
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